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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION
     __________________________________________________________________


UNITED STATES OF AMERICA                                 CASE NO. 3:13-CR-076-N
V.

MICHAEL DAVID CARROLL


                                MOTION FOR DETENTION

        The United States moves for pretrial detention of defendant, Michael David

Carroll, pursuant to 18 U.S.C. §3142(e) and (f).

        1. Eligibility of Case. This case is eligible for a detention order because the case

involves (check all that apply):

                       Crime of violence (18 U.S.C. §3156);

                       Maximum sentence life imprisonment or death

                       10 + year drug offense

                       Felony, with two prior convictions in above categories

                   X Serious risk defendant will flee

                       Serious risk obstruction of justice

                       Felony involving a minor victim

                       Felony involving a firearm, destructive device, or any other

                dangerous weapon

                       Felony involving a failure to register (18 U.S.C. § 2250)

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        2. Reason for Detention. The Court should detain defendant because there are no

conditions of release which will reasonably assure (check one or both):

                   X     Defendant’s appearance as required

                   X    Safety of any other person and the community

        3. Rebuttable Presumption. The United States will/will not invoke the rebuttable

presumption against defendant because (check one or both):

                        Probable cause to believe defendant committed 10+ year drug

                        offense or firearms offense, 18 U.S.C. §924(c)

                        Probable cause to believe defendant committed a federal crime of

                        terrorism, 18 U.S.C. §2332b(g)(5)

                        Probable cause to believe defendant committed an offense involving

                        a minor, 18 U.S.C. §§1201, 2251

                        Previous conviction for “eligible” offense committed while on

                        pretrial bond

        4. Time For Detention Hearing. The United States requests the Court conduct the

detention hearing,

                        At first appearance

                    X    After continuance of 3 days.



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        DATED this 2nd day of June, 2021.


                                         Respectfully submitted,

                                         PRERAK SHAH
                                         ACTING UNITED STATES ATTORNEY


                                         s/ David L. Jarvis
                                         DAVID L. JARVIS
                                         Assistant United States Attorney
                                         Texas State Bar No. 10585500
                                         1100 Commerce Street, 3rd Floor
                                         Dallas, Texas, 75242
                                         Telephone: 214-659-8729
                                         Facsimile: 214-659-8812
                                         Email: david.jarvis@usdoj.gov



                                CERTIFICATE OF SERVICE

        I hereby certify on June 2, 2021, that a copy of the foregoing will be served via
ECF electronic notice on counsel for the defendant, in accordance with the Federal Rules
of Criminal Procedure, whenever a defense counsel files a formal Notice of Appearance
in this case.


                                         s/ David L. Jarvis
                                         DAVID L. JARVIS
                                         Assistant United States Attorney




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